         Case 2:18-cv-02545-KHV Document 611-1 Filed 04/27/22 Page 1 of 3




                                UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF KANSAS



LAMONTE MCINTYRE & ROSE LEE
MCINTYRE,

                  Plaintiffs,
                                                           Case No. 2:18-cv-02545-KHV-KGG
v.

UNIFIED GOVERNMENT OF WYANDOTTE
COUNTY AND KANSAS CITY, KS, et al.,

                  Defendants.



                       INDEX OF EXHIBITS TO
       MEMORANDUM OF LAW IN OPPOSITION TO OFFICER DEFENDANTS’
                 MOTION FOR SUMMARY JUDGMENT

             Exhibit 72          Michael Kobe Deposition Excerpts
             Exhibit 73          Expert Report of Jennifer Dysart
             Exhibit 74          Dennis Ware Deposition Excerpts
             Exhibit 75          Ricky Armstrong Deposition Excerpts
             Exhibit 76          Joe Robinson Affidavit
             Exhibit 77          Stacy Quinn 1996 Affidavit
             Exhibit 78          Freda Quinn 2016 Affidavit
             Exhibit 79          D.L. 2014 Affidavit
             Exhibit 80          Roger Golubski Deposition
             Exhibit 81          W.K. Smith Deposition Excerpts
             Exhibit 82          Cecil Brooks 2016 Affidavit
             Exhibit 83          Shonda Nichols 2014 Affidavit
             Exhibit 84          Kendra Dean-Martin 2013 Affidavit
             Exhibit 85          Polaroids from Lineup with Names on Back
             Exhibit 86          Gregory Wilson 2015 Affidavit
             Exhibit 87          Siobaughn Nichols 2014 Affidavit
             Exhibit 88          Kendra Dean-Martin 2015 Affidavit
             Exhibit 89          Nathan Richardson Affidavit
             Exhibit 90          News Articles
             Exhibit 91          Neil Edgar Jr. Deposition Excerpts
             Exhibit 92          Sentencing Transcript, Neil Edgar Jr.
             Exhibit 93          James McIntyre 2014 Affidavit
             Exhibit 94          M’Sherie Johnson 2016 Affidavit


48680064v1
         Case 2:18-cv-02545-KHV Document 611-1 Filed 04/27/22 Page 2 of 3




             Exhibit 95    Frank Freeman 2011 Affidavit
             Exhibit 96    Gary Long Deposition Excerpts
             Exhibit 97    Gary Long 2015 Affidavit
             Exhibit 98    Rashida Martis 2011 Affidavit
             Exhibit 99    Clyde Blood Deposition Excerpts
             Exhibit 100   Russell Fischer Report
             Exhibit 101   Randy Eskina 2016 Affidavit
             Exhibit 102   James Brown Deposition Excerpts
             Exhibit 103   Michael York Deposition Excerpts
             Exhibit 104   Timothy Maskil 2015 Affidavit
             Exhibit 105   Lamonte McIntyre 2022 Declaration
             Exhibit 106   Photo Line Up
             Exhibit 107   Lamonte McIntyre 1994 Mugshots
             Exhibit 108   Monster MODOC Offender Profile
             Exhibit 109   Rose McIntyre 2014 Affidavit
             Exhibit 110   Evidentiary Hearing
             Exhibit 111   Russell Fischer Deposition
             Exhibit 112   Rose McIntyre Deposition Excerpts
             Exhibit 113   AOT 1988 – 1989, Outlines-Crime Scene Evidence
             Exhibit 114   O.W. Deposition
             Exhibit 115   S.K. Deposition
             Exhibit 116   Cecil Brooks Deposition
             Exhibit 117   Tina Peterson Declaration
             Exhibit 118   Gregory Hill 2011 Affidavit
             Exhibit 119   C.S.R. 2015 Affidavit
             Exhibit 120   Ruby Ellington 2015 Affidavit
             Exhibit 121   N.H. 2015 Affidavit
             Exhibit 122   Jermaine McIntyre 2016 Affidavit
             Exhibit 123   Lamont Drain 1984 Mugshots
             Exhibit 124   Ron Singer Affidavit
             Exhibit 125   Stacy Quinn Booking and Probation Records
             Exhibit 126   Lamonte McIntyre 6-20-2016 Affidavit
             Exhibit 127   Order Releasing Defendant from Custody and Dismissal
             Exhibit 128   Jennifer Dysart Deposition Excerpts
             Exhibit 129   Tim Hausback Declaration
             Exhibit 130   Audio Recording
             Exhibit 131   Trial Transcript
             Exhibit 132   Niko Quinn Deposition
             Exhibit 133   Niko Quinn 2014 Affidavit
             Exhibit 134   Niko Quinn DA Interview
             Exhibit 135   Ruby Mitchell Affidavit
             Exhibit 136   Ruby Mitchell Deposition
             Exhibit 137   Lamonte McIntyre Deposition Excerpts
             Exhibit 138   Preliminary Hearing Transcript
             Exhibit 139   Transcript of Hearing on Motion for New Trial

                                            2
48680064v1
         Case 2:18-cv-02545-KHV Document 611-1 Filed 04/27/22 Page 3 of 3




             Exhibit 140   Freda Quinn 2011 Affidavit
             Exhibit 141   Terra Morehead Deposition Excerpts
             Exhibit 142   Niko Quinn 1996 Affidavit
             Exhibit 143   Tarik Khatib Deposition Excerpts
             Exhibit 144   Ronald Miller Deposition Excerpts
             Exhibit 145   Freda Quinn Deposition Excerpts
             Exhibit 146   Terry Zeigler Deposition Excerpt
             Exhibit 147   Neil Edgar Jr. Monster Mug Shot 1996




                                            3
48680064v1
